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                                                                   #179
B A O 2458    (Rev. 12/03) Judgment in a Criminal Case
              Sheet 1




                                              SOUTHERN         District of          ILLINOIS
W E D STATES OF AMERICA                                                JUDGMENT IN A CRIMINAL CASE
v.
MARK EVAN CHILDRESS
                                                                       Case Number:                             4:04CR40006-002-JPG
                                                                       USM Number:                              06528-025
                                                                       Grant J. Shostak




                                                                                                                                      -
                                                                       Defendant's Attorney
THE DEFENDANT:
X_ pleaded g d t y to count(s)
-
                                    4 of the Superseding Indictment.
0 pleaded nolo contendere to count(s)
                                                                                                                 n.

                                                                                                               ''%);L"3
                                                                                                                        -
                                                                                                                %);L"Z*oav'V
                                                                                                                        av'V 12
                                                                                                                             12%
                                                                                                                                  %-
                                                                                                                                  %
   which was accepted by the court.
0 was found guilty on count(s)
-
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                  Nature of Offense                                                              Offense Ended
26 U.S.C. 5861 (d) and           Possession of a Destructive Device                                             0 1/06/2004
5871




       The defendant is sentenced as provided in pages 2 through                          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.

- The defendant has been found not guilty on count(s)
x Count(s) ls, Ss, & 6s                           -
                                                  0 is         x are dismissed on the motion of the United States.

         It is ordered that the defendantmust notify the United States attorney for t h ~ sdishct with~n30 da 5 of any change of nan~e,resfdence,
or ma~hn address until all fines, restltutmn, costs, and spcc~alassessments unposed by th~spdgrncntare fuhy p i d . If ordered to pay rsstlhltio~
the defcn%nt must not~fythe court and Un~tedStates attorney of material changes in econonuc circumstances.

                                                                       Mav 19,2005
                                                                       Date of h ~ o s i t i o nof J u d m t




                                                                       J. Phil Gilbert. District Judge
                                                                       NRd         Title o f h d g e
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A 0 245B       (Rev. 12103) Judgment in Criminal Case
               Sheet 2 -Imprisonment

                                                                                                      Judgment - Page 2
 DEFENDANT:                       MARK EVAN CHILDRESS
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                                                               IMPRISONMENT

         The defendant is bereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:     42 months on Count 4s




     X The court makes the following recommendations to the Bureau of Prisons:
     -
           That the defendant be placed in the Intensive Drug Treatment Program.




     X The defendant is remanded to the custody of the United States Marshal.

     0 The defendant shall surrender to the United States Marshal for this dismct:
     -

         -
         0  at                                01 a.m
                                              -                       p.m.     on

         -
         01 as notified by the United States Marshal.

     13 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     -
           -
           U     before 2 p.m on

         - as notified by the United States Marshal.
         -
         a as notified by the Probation or Pretrial Services Office.

                                                                     RETURN
 I have executed this judgment as follows:




           Defendant delivered on                                                          to

 a                                                      , with a certifiedcopy of this judgment.



                                                                                                    UNITED STATES MARSHAL


                                                                             BY
                                                                                    DEPUTY UNITED STATES MARSHAL
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A 0 2458      (Rev. 12/03)       - in a Criminal Case
                          ,Judnmmt
              sheet 3 S u p e r v i s e d Release


DEFENDANT:                     MARK EVAN CHILDRESS
CASE NUMBER:                   4:04CR40006-002-JPG
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term o f :           2 years on Count 4s.




     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. 'I he defendant shall refrarn from any unlawful use of a controlled
substance. The defendant shall submt to one drug- test wrthrn 15 days of release from unpnsonment and at least two penodrc drug tests
thereafter, as determined by the court.
-        The above drug testing condition is suspended, based on the court's determioation that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)
H
-        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)
X        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

-        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
         student, as directed by the probation officer. (Check, if applicable.)
         The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this 'udgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule ofl~aymentssheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer and shall submit a truthful and complete written report within the fust five days of
           each month,
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
  5)       the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
  6)       the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)       the defcndant shall refrain from cxcessrve use of alcohol and shall not purchase, possess, use, drstribute, or adrmnister any
           controlled substance or any paraphemaha related to any controlled substances, except as prescribed by a physician,
  8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9) the defendant shall not assocrate wth any ersons en aged m cnnunal actlvrty and shall not assocrate wrth any prrson conv~ctedof'a
           felony, unless granted permrssron to do s o t y the pro%atronofficer:
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plam view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)      the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permission of the court; and
 13)      as duected by the robation officer, the defendant shall notrfy h d panies of risks that may be occasioned by the defendant's crinunal
          record or          history or charact~risti~s and shall permit the probat~onofficer to make such notifications and to codum the
          defendant s complrance wth such nonficatron requirement.
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           Sheet 3C - ~ u ~ & i s e dRelease
                                                                                            Judgment-Page   4
DEFENDANT:                   MARK EVAN CHILDRESS
CASE NUMBER:                 4:04CR40006-002-JPG

                                             SPECIAL CONDITIONS OF SUPERVISION
           The defendant shall partlei ate in a program of mental health treatment, as d~rectedby the probation officer, unt~l
                                                 $
such t ~ m eas the defendant IS release from the program by the probat~onofficer.
  The defendant shall articipate as directed and approved by the probation officer in treatment for narcotic addiction, drug
                           !
dependence, or alcoho dependence, which includes urinalysis or other drug detection measures and which may require
residence and/or partici ation in a residential treatment facility. Any participation will require complete abstinence from all
alcoholic beverages. d e defendant shall pay for the costs associated with substance abuse counseling and/or testing based
on a co-pay sliding fee scale as directed and approved by the United States probation Office. Co-pay shall never exceed the
total costs of counseling.
  The defendant shall pay any financial penalty that is imposed by this ~udgmentand that remains un aid at the
commencement of the term of supemscd release. The defendant shall pay the fine I installments of f50.00 or ten percent of
his net monthly income, wh~cheverIS greater
 The defendant shall provide the probation officer and the Financial Litigation Unit of the United States Attorney's Office
with access to any r e y t e d finqcia1,information. The defendant is advlsed that the probation office may share financial
information with the inancial L~tigabonUnit.
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A 0 245B   (Rw. 12103) Judgment in a Criminal Case

                                                                                                     Judgment-   Page 5
 DEFENDANT:                       MARK EVAN CHILDRESS
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                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                      Assessment                                     -
                                                                     Fine                                  Restitution
TOTALS            $ 100.00                                        $ 1,000.00                            $ -0-



I3 The determination of restitution is deferred until -
-                                                      . An Amended Judgment in a Criminal Case(AO245C) will be entered
     after such determination.

13 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
-
     If the defendant makes a partial payment, each pa ee shall receive an approximatel ro ortioned ayment, unless specified otherwise @
     the pnonty order or percentage payment column$elow. However, pursuant to 18Vs.E. 5 3664&, all nonfederal v~cbmsmust be paid
     before the United States is paid.

Name of Pavee                               Total Loss*                   Restitution Ordered                     Prioritv or Percentage




TOTALS                              $                                    $

I3
-     Restitution amount ordered pursuant to plea agreement $

-
I3    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or h e is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. 5 3612(g).

X     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      - the interest requirement is waived for the       x    fine       restitution.

      -
      I3 the interest requirement for the -
                                          0 fine             - restitution is modified as follows:
*Findingsfor the total amount of losses are re uired under Chapters 109A, 110,l IOA, and 113A of Title 18 for offenses committed on or afier
September 13, 1994, but before April 23, 1996.
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A 0 245B
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                                                                                                            Judgment - Page
 DEFENDANT:                    MARK EVAN CHILDRESS
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                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

 A       xg Lump sum payment of $                               due immediately, balance due

                    not later than                                   , 01
                    in accordance           -
                                            0    C,      g D,   1 E, or       -
                                                                              0 F below; or

 B       E! Payment to begin immediately (may be combined with              g C,     -
                                                                                     0 D, or         E! F below); or
 C       g Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                       over a period of
                              (e.g., months or years), to commence                 (e.g., 30 or 60 days) after the date of this judgment; or

 D       g Payment inequal                        (e.g., weekly, monthly, quarterly) installments of $                     over a period of
                           (e.g., months or years), to commence                 (e.g., 30 or 60 days) after release fiom imprisonment to a
              term of supervision; or

 E       g Payments are due immediately, through the Clerk of the Court, but may be paid fiomprison earnings in compliance with the
              Inmate Financial Responsibility Program Any F i c i a l penalties that remain unpaid at the commencement of the term of
              supervised release shall be paid at the rate of $            per month,        % of defendants monthly gross earnings,
              whichever is greater.

 F       xg Special instructions regarding the payment of criminal monetary penalties:
              While on supervised release, the defendant shall make monthly payments in the amount of $50.00 or ten percent of his net
              monthly income, whichever is greater.




 Unless the court has express1 ordered otherwise, if this judgment imposes imprisonment, a ent of criminal monetary penalties is due dnrin
 nnpnsonment. All cnnnnarmoneta penalties, except those payments made throug! g ~ e d e r a Bureau   l      of Pnsons' Inmate ~inanciaf
 Responsibility Program, are made to x e clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed




 -
 0       Joint and Several
         Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
         and corresponding payee, if appropriate.




-
o        The defendant shall pay the cost of prosecution.
-
0        The defendant shall pay the following court cost(s):
-
0        The defendant shall forfeit the defendant's interest in the following property to the United States:



 I'aymcnts shall be applied m the following order: (1 assessment, (2) restitution p ~ c ~ p a(3)
                                                           1                                  l , restjtution interest. (4) fme principal,
 ( 5 ) fine interest, (6) community restitution, (7) pena hes, and (8) costs, ~ncludlngcost of prosecunon and COUII costs.
                                                                                                                                                   .   :
